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EXHIBIT F

 
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Robbins Geller Atlanta Melville San Diego
idmaarn. pa BocaR New York Ss i
Rudman Dowd up Boca Raton Seimaclphia San Francisco

Rachel L. Jensen

RachelJ@rgrdiaw.com
October 21, 2013
VIA EMAIL
Jill Martin
c/o Trump National Golf Club Los Angeles
One Ocean Trails Drive

Rancho Palos Verdes, CA 90275

Re: Subpoenas for Instructor Depositions in Makaeff, et al. v. Trump University, LLC.

Dear Jill:

We are in receipt of your letter of this afternoon regarding the depositions of Trump
University instructors Gerald Martin set for this Wednesday, October 23, 2013, and Steve Goff set
for next Tuesday, October 28, 2013. Your letter also discussed the James Harris deposition noticed
for this Friday, October 25, 2013.

As you know, Amber and I are flying first thing tomorrow morning to Orlando for the
Martin deposition. Nevertheless, your letter at the last minute refuses to go forward with the Martin
and Goff depositions due solely to the filing of Cohen v. Donald Trump. Your only explanation is
you suspect Plaintiffs in the Makaeff matter noticed these depositions “under the guise of needing
them for purposes of obtaining discovery in the Makaeff action,” while really trying to obtain early
discovery in the Cohen case. Oct. 21, 2013 Letter from Jill Martin to Amber Eck and Rachel

Jensen.

Your accusation is nonsense. Your letter is only the latest excuse in Defendants’ string of
excuses that have resulted in the delay of the instructor depositions for many months. As you
know, we have been trying to schedule depositions of primary Trump University instructors for
over a year. In fact, Plaintiffs first attempted to serve Steve Goff and James Harris with deposition
subpoenas in August 2012, but the witnesses successfully evaded service at that time. We then re-
noticed the instructor depositions this summer after finally receiving long-withheld script
documents in June of 2013, and we tried to schedule those depositions for July or August.
Defendants refused to produce the witnesses during that entire time frame, citing conflicts for
defense counsel, Mr. David Schneider, whom I have copied on this correspondence. Plaintiffs
accommodated Mr. Schneider’s schedule and asked to schedule the depositions during the given
windows of the weeks of September 9th and September 17th, but when we attempted to set dates,
Mr. Schneider said he was no longer available. In late August, Mr. Schneider finally provided dates

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655 West Broadway Suite 1900 San Diego,CA92101 Tel619 2311058 Fax 6192317423 www.grdiaw.com

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in October, and in a letter dated October 1, 2013, Ms. Martin confirmed Mr. Martin’s deposition for
this Wednesday and Mr. Goff’s deposition for next Tuesday. To now suggest Plaintiffs noticed
these instructor depositions to obtain early discovery in an action that was filed on Friday, when
Plaintiffs have expended such extraordinary amounts of time and expense over the course of a year
to serve the subpoenas and confirm the instructor depositions, strains credulity.’

As I am sure you know, “subpoenas issued by attorneys are issued on behalf of the court and
are thus treated as orders of the court.” Martinez v. City of Pittsburg, No. C11-01017 SBA (LB),
2012 U.S. Dist. LEXIS 27230, at *8 (N.D. Cal. Mar. 1, 2012). Rule 45(e) allows a court to “‘hold
in contempt a [non-party] who, having been served, fails without adequate notice to obey the
subpoena.”” Id. at *7-*8 (citation omitted). Courts routinely hold non-party witnesses in contempt
of court for non-compliance, including both civil and criminal penalties. Id. at *8 (“A contempt
charge against a nonparty may be criminal or civil in nature.”); McIver v. Pac. Carmel Mt.
Holdings, LP, No. 09cv1975 LAB (MDD), 2011 U.S. Dist. LEXIS 89274, at *5 (S.D. Cal. Aug. 11,
2011) (unexcused failure to appear would subject witness to contempt of court resulting in criminal
or civil penalties). Sanctions may include fines payable to the court, attorneys’ fees and costs, and
also may include jail time. Martinez, 2012 U.S. Dist. LEXIS 27230, at *8; Allstate Ins. Co. v.
Nassiri, No. 2:08-cv-00369-JCM-GWF, 2011 U.S. Dist. LEXIS 140285, at *7 (D. Nev. Dec. 6,
2011) (ordering non-party witness to pay $5,350.75 for failing to appear at deposition); Aguilar v.
County of Fresno, No. 1:08-cv-1202 AWI GSA, 2010 U.S. Dist. LEXIS 27136, at *10 (E.D. Cal.
Mar. 23, 2010) (holding non-party in contempt, ordering a civil citation and bench warrant to
compel appearance and compliance with deposition, and any other penalty the court may deem
appropriate); In re Coan, No. C 06-80350 MISC SI, 2007 U.S. Dist. LEXIS 6288, at *20 (N.D. Cal.
Jan. 12, 2007) (granting motion for sanctions in the amount of $3,000 to cover expenses).

In light of the serious repercussions for failing to obey this subpoenaed deposition, we
anticipate that Mssrs. Martin and Goff will honor their obligation by appearing for their scheduled
depositions. Should Mr. Martin or Mr. Goff fail to show up for the deposition, we will seek
reimbursement for all our attorneys’ fees and expenses incurred connection with the depositions,
including our airfare and hotel, and any other penalties that the Court may deem appropriate.

Finally, with respect to the Harris deposition, we disagree with both the suggestion that Mr.
Harris was not properly served or your objection to the timing of the deposition. First, Mr. Harris

 

1 Further, Defendants have been on notice that a RICO action would be filed if Plaintiffs’ motion for leave to amend
was denied since August 23, 2013; as such, the filing of the Cohen action provides no excuse for these witnesses not to
show up at their scheduled depositions. Plaintiffs are also willing to stipulate that these instructors’ depositions taken in
the Makaeff action may be used in the Cohen action so that the witnesses are not required to sit for multiple depositions.

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was hand-served with the subpoena, and we have a picture of Mr. Harris at the restaurant table
where he was served. Also, we served the amended deposition subpoena on defense counsel,
Mr. Schneider, on September 13, 2013, prior to service on the witness, but Defendants failed to let
us know of any conflict until October 1, 2013. Despite Defendants’ delay in notifying us of any
conflict, we have indicated our willingness to make accommodations, though we explained we
cannot release the noticed date of October 25, 2013, until we have assurances from this witness he
would work with us on alternative dates. I have now been in touch with Mr. Harris’ criminal
attorney, Donald Turner, and I hope to have an update on Mr. Harris’ deposition shortly.

Very truly yours,

     
   

RACHEL L: JENS”
RLJ:hsb
Enclosures

Cc: David Schneider
Jason Forge
Amber Eck

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